Contract Incentive Detail - HVAC
Period : September 2023
                                                                                                                                            EXHIBIT D
EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                        Job Code                   : J07683

Employee ID                   : 1696790                                                                                   Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                         Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status              Vol         GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                Incentive              Date                   Incentive

0N420120                                             12/01/2019        Prime       Closed    $146,651.50     $21,089.18           70%                     $1,968.94               $1,968.94                     $0.00
1-109698855523                                       10/01/2022        L&M         Closed     $18,423.00      $6,662.00          100%                       $416.00                 $416.00                     $0.00

1-111438622104                                       12/01/2021        PSA         Closed    $103,356.00     $59,243.78          100%                      $814.67                  $814.67                     $0.00



1-115651471936                                       02/01/2022        PSA         Active     $41,741.00     $17,041.19          100%                     $5,623.59               $4,217.69                 $1,405.90

1-116711092740                                       02/01/2023        L&M         Closed     $32,294.00     $13,233.91          100%                      $839.32                  $839.32                     $0.00

1-117181579068                                       10/01/2022        L&M         Closed       $8,561.00     $2,546.25          100%                      $165.83                  $165.83                     $0.00

1-117776271309                                       11/01/2022        L&M         Closed     $11,400.00      $5,589.71          100%                      $471.86                  $471.87                    $-0.01

1-120196299423                                       08/01/2022        PSA         Active     $60,844.00     $19,701.52          100%                      $751.24                  $751.24                     $0.00

1-120663415909                                       08/01/2022        PSA         Active     $24,728.00     $13,590.83          100%                      $200.96                  $200.96                     $0.00



1-121381921626                                       10/01/2022        L&M         Closed      $4,703.00      $1,888.52          100%                      $115.59                  $115.59                     $0.00
1-121496265717                                       09/01/2022        PSA         Active     $77,026.00     $37,993.46          100%                      $644.47                  $644.47                     $0.00



1-121516897449                                       12/01/2022        L&M         Closed     $42,639.00     $22,327.73          100%                     $1,835.94               $1,835.94                     $0.00

1-121685076169                                       10/01/2022        L&M         Closed       $4,973.00     $2,191.19          100%                      $131.94                  $131.94                     $0.00

1-122537957067                                       10/01/2022        L&M         Closed       $6,654.00     $2,431.50          100%                      $151.52                  $151.52                     $0.00

1-122826297269                                       01/01/2023        L&M         Closed         $693.00      $406.00           100%                       $32.00                   $32.00                     $0.00

1-122870866328                                       10/01/2022        PSA         Active      $6,668.00      $3,350.23          100%                       $55.56                   $55.56                     $0.00
1-122915187091                                       10/01/2022        PSA         Active     $18,688.00     $10,152.58          100%                      $171.67                  $171.67                     $0.00



1-122923059571                                       12/01/2022        L&M         Closed       $9,994.48     $4,933.42          100%                      $415.35                  $415.35                     $0.00

1-123097410310                                       08/01/2023        L&M         Closed       $3,644.00    $-2,797.54          100%                      $-119.84                $-119.84                     $0.00

1-123168623779                                       10/01/2022        PSA         Active     $19,776.00      $9,110.13          100%                      $124.61                  $124.61                     $0.00




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                        Job Code                   : J07683

Employee ID                   : 1696790                                                                                   Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                         Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMA

Contract Number                                      First Period      Cont Type   Status              Vol         GM     Credit Split %        Estimated Total          Incentive Paid to      Estimated Remaining
                                                                                                                                                Incentive                Date                   Incentive

1-124331362213                                       11/01/2022        L&M         Closed     $18,885.71     $10,018.83          100%                      $819.65                    $819.65                     $0.00
1-124505074975                                       03/01/2023        L&M         Closed      $2,500.00      $1,635.20          100%                      $133.32                    $133.32                     $0.00
1-124521394470                                       02/01/2023        L&M         Closed     $15,562.29     $11,055.01          100%                      $873.71                    $873.71                     $0.00
1-124763621343                                       01/01/2023        L&M         Closed      $4,275.00      $2,785.98          100%                      $211.45                    $211.45                     $0.00

1-124814883893                                       12/01/2022        PSA         Active       $4,816.00     $1,492.96          100%                            $0.00                  $0.00                     $0.00

1-124950993527                                       12/01/2022        PSA         Active     $17,315.00      $8,190.69          100%                      $162.26                    $162.26                     $0.00



1-125056074793                                       06/01/2023        L&M         Closed          $0.00          $0.00           0%                         $0.00                      $0.00                     $0.00
1-127198419983                                       02/01/2023        L&M         Closed     $11,671.00      $4,655.00          100%                      $296.94                    $296.94                     $0.00

1-127216737853                                       02/01/2023        L&M         Closed      $4,939.20      $2,018.20          100%                      $128.08                    $128.08                     $0.00
1-127351428275                                       01/01/2023        PSA         Active     $26,244.00     $11,814.15           0%                         $0.00                      $0.00                     $0.00

1-127440410395                                       02/01/2023        L&M         Closed     $16,848.00      $9,340.52          100%                      $814.50                    $814.51                    $-0.01

1-127518742503                                       02/01/2023        PSA         Active     $41,967.00     $15,634.14          100%                      $625.36                    $625.36                     $0.00

1-127519351450                                       02/01/2023        PSA         Active     $16,754.00      $7,608.54          100%                      $151.19                    $151.19                     $0.00



1-127519995291                                       02/01/2023        PSA         Active     $26,838.00     $10,604.20           0%                             $0.00                  $0.00                     $0.00



1-127567045794                                       02/01/2023        L&M         Closed      $4,996.00      $1,722.34          100%                       $113.60                   $113.60                     $0.00
1-127636821036                                       06/01/2023        L&M         Closed     $79,744.00     $31,646.10          100%                     $2,020.90                 $2,020.90                     $0.00
1-127803297655                                       03/01/2023        L&M         Closed      $3,793.90      $1,965.20          100%                       $176.52                   $176.52                     $0.00

1-128331092283                                       03/01/2023        L&M         Closed      $4,996.00      $2,377.00          100%                      $221.90                    $221.90                     $0.00
1-128545337944                                       05/01/2023        L&M         Closed     $24,711.38      $9,374.79          100%                      $604.65                    $604.65                     $0.00

1-128594533930                                       05/01/2023        L&M         Closed       $3,046.51     $1,675.39          100%                      $146.62                    $146.62                     $0.00

1-128639067410                                       04/01/2023        L&M         Closed     $13,811.00      $6,905.29          30%                       $220.63                    $220.63                     $0.00

1-128639669238                                       06/01/2023        L&M         Closed       $3,475.46      $530.47           100%                       $45.64                     $45.64                     $0.00

1-128644820544                                       04/01/2023        L&M         Closed       $4,996.00     $1,958.40          100%                      $125.40                    $125.40                     $0.00



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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                        Job Code                   : J07683

Employee ID                   : 1696790                                                                                   Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                         Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status              Vol         GM     Credit Split %        Estimated Total          Incentive Paid to      Estimated Remaining
                                                                                                                                                Incentive                Date                   Incentive

1-128699248592                                       08/01/2023        L&M         Closed       $9,800.49     $3,503.64          100%                      $229.08                    $229.08                     $0.00

1-128728576327                                       05/01/2023        L&M         Closed     $41,254.00     $16,046.44          100%                     $1,029.22                 $1,029.22                     $0.00

1-128740236813                                       05/01/2023        L&M         Closed       $4,996.00     $1,722.34          100%                      $113.60                    $113.60                     $0.00
1-128755127288                                       04/01/2023        L&M         Closed       $8,843.00     $3,458.23          100%                      $221.55                    $221.55                     $0.00

1-128823558105                                       05/01/2023        PSA         Active     $32,329.00     $14,024.85          100%                     $5,785.25                 $4,338.94                 $1,446.31

1-128825097613                                       05/01/2023        PSA         Active     $44,764.00     $15,840.86          100%                     $5,227.48                 $3,920.61                 $1,306.87

1-128856930132                                       07/01/2023        L&M         Closed     $24,879.00     $12,819.75          100%                     $1,154.10                 $1,154.10                     $0.00

1-129523860277                                       07/01/2023        L&M         Closed     $17,116.00      $4,267.97          100%                      $307.54                    $307.54                     $0.00
1-129533977579                                       08/01/2023        L&M         Closed      $4,996.00      $1,722.34          100%                      $113.60                    $113.60                     $0.00
1-129533977693                                       06/01/2023        L&M         Closed      $4,996.00      $1,836.01          100%                      $119.28                    $119.28                     $0.00
1-129533977807                                       06/01/2023        L&M         Closed      $4,996.00      $2,170.59          100%                      $136.01                    $136.01                     $0.00
1-129533977861                                       09/01/2023        L&M         Closed      $4,996.00      $2,367.10          100%                      $221.41                    $221.41                     $0.00
1-129534483910                                       09/01/2023        L&M         Closed      $4,996.00      $2,367.10          100%                      $221.41                    $221.41                     $0.00
1-129773465379                                       07/01/2023        L&M         Closed     $24,626.00     $11,077.22           25%                      $215.41                    $215.41                     $0.00

1-129788754600                                       06/01/2023        PSA         Active     $30,924.00     $13,491.46          100%                     $7,420.30                 $5,565.23                 $1,855.07



1-130282555772                                       07/01/2023        PSA         Active     $11,344.00      $5,032.45          100%                     $2,075.89                 $1,556.91                   $518.98



1-130308104613                                       07/01/2023        L&M         Closed       $1,293.00      $806.09           100%                       $66.97                     $66.96                     $0.01
1-130308104671                                       07/01/2023        L&M         Closed       $1,394.00      $719.08           100%                       $64.72                     $64.71                     $0.01
1-130418265427                                       08/01/2023        PSA         Active         $600.00      $300.00           100%                        $6.00                      $6.00                     $0.00

1-130419323583                                       08/01/2023        PSA         Active     $35,244.00     $15,680.78          100%                      $313.62                    $313.62                     $0.00

1-130419323786                                       08/01/2023        PSA         Active     $26,456.00     $13,926.15          100%                      $271.82                    $271.82                     $0.00



1-130419447253                                       08/01/2023        PSA         Active         $600.00      $300.00           100%                            $6.00                  $6.00                     $0.00

1-130420750929                                       08/01/2023        PSA         Active     $24,737.00     $10,224.23          100%                     $5,623.33                 $4,217.50                 $1,405.83




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                             Job Code                   : J07683

Employee ID                   : 1696790                                                                                        Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                     Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                              Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

1-130421212467                                       08/01/2023        L&M         Closed           $9,931.00      $4,017.40          100%                      $405.70                  $405.70                     $0.00

1-131200723890                                       09/01/2023        PSA         Active         $30,404.00       $6,649.78          100%                      $449.72                  $364.33                    $85.39

1N420156                                             03/01/2021        PSR         Transferred   $261,926.00     $125,464.63          80%                      $8,065.86               $8,065.86                     $0.00

1N420172                                             03/01/2021        PSR         Active        $187,261.00      $79,016.82          20%                      $1,303.72                 $935.90                   $367.82

1N420211                                             04/01/2021        PSR         Transferred   $174,781.00     $102,329.42          20%                      $1,596.93               $1,596.93                     $0.00

1N420406                                             09/01/2021        Prime       Active         $55,478.00      $13,271.88          80%                        $905.78                 $658.66                   $247.12
2N420008                                             10/01/2021        Prime       Transferred   $365,497.00      $67,875.57          70%                      $6,348.08               $6,348.09                    $-0.01

2N420009                                             10/01/2021        Prime       Closed        $268,145.00      $13,485.50          100%                     $2,103.44               $2,103.44                     $0.00

2N420011                                             10/01/2021        PSR         Closed        $204,157.00      $98,518.49           5%                       $396.48                  $396.48                     $0.00

2N420071                                             11/01/2021        PSR         Closed         $91,600.00      $32,574.17          11%                       $280.01                  $280.01                     $0.00

2N420125                                             12/01/2021        Prime       Transferred   $383,000.00      $64,860.30          65%                      $5,838.40               $5,838.40                     $0.00

2N420126                                             12/01/2021        Prime       Closed        $123,015.00           $0.00          100%                      $-536.16                $-536.16                     $0.00

2N420150                                             01/01/2022        PSR         Closed         $74,860.00      $26,528.57          85%                      $1,785.87               $1,785.87                     $0.00
2N420186                                             02/01/2022        PSC         Active        $163,475.00      $47,415.19          15%                        $583.32                 $417.78                   $165.54

2N420187                                             02/01/2022        PSR         Active        $197,450.00      $63,590.06           10%                       $511.72                 $363.72                   $148.00
2N420218                                             03/01/2022        PSR         Closed         $36,950.00      $14,036.00           15%                       $164.95                 $164.95                     $0.00
2N420248                                             04/01/2022        PSR         Transferred   $290,480.00     $101,811.92           15%                     $1,211.64                 $856.19                   $355.45
2N420257                                             05/01/2022        Prime       Transferred    $64,666.00      $16,872.20          100%                     $1,558.50               $1,558.50                     $0.00

2N420259                                             05/01/2022        PSR         Active         $28,284.00      $14,348.60          15%                       $162.22                  $112.12                    $50.10

2N420261                                             05/01/2022        PSR         Transferred    $72,887.00      $36,672.51          10%                       $293.07                  $207.72                    $85.35

2N420265                                             09/01/2023        PSC         Active        $294,606.00      $94,005.64           2%                      $5,388.28               $4,565.73                   $822.55

2N420275                                             05/01/2022        PSR         Transferred    $42,529.00      $18,018.54          15%                       $208.44                  $208.44                     $0.00

2N420277                                             05/01/2022        PSR         Transferred    $19,350.00       $9,036.91          15%                       $103.20                  $103.20                     $0.00



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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                             Job Code                   : J07683

Employee ID                   : 1696790                                                                                        Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                     Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                              Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total          Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive                Date                   Incentive

2N420299                                             06/01/2022        PSC         Active         $82,264.00      $27,392.14          80%                      $2,206.25                 $1,822.76                   $383.49

2N420311                                             09/01/2022        PSR         Transferred   $105,134.00      $32,956.22          68%                      $1,908.82                 $1,908.82                     $0.00
2N420312                                             09/01/2022        PSR         Transferred    $38,613.00      $12,819.20           8%                         $81.48                    $81.48                     $0.00

2N420313                                             06/01/2022        Prime       Active        $115,676.00      $53,578.12          94%                      $5,104.95                 $4,003.25                 $1,101.70

2N420339                                             07/01/2022        PSC         Active        $610,847.00     $152,121.92          10%                    $10,354.91                  $7,692.77                 $2,662.14

2N420343                                             08/01/2022        PSR         Active         $94,450.00      $36,915.32          15%                       $515.93                    $419.02                    $96.91

2N420356                                             08/01/2022        PSR         Closed         $19,600.00       $9,199.49          50%                       $395.36                    $395.37                    $-0.01

2N420375                                             08/01/2022        PSR         Transferred    $45,428.00      $16,463.50           10%                      $102.76                    $102.76                     $0.00
2N420383                                             08/01/2022        Prime       Active        $456,687.00     $112,641.42           70%                   $14,518.50                 $12,793.68                 $1,724.82
2N420384                                             08/01/2022        Prime       Active        $158,251.00       $1,281.19          100%                      $776.19                    $753.77                    $22.42
2N420395                                             09/01/2022        Prime       Active        $449,856.00     $100,349.47           70%                    $7,342.46                  $5,805.86                 $1,536.60
2N420396                                             09/01/2022        Prime       Transferred   $200,197.00      $37,633.63          100%                    $2,782.57                  $2,782.57                     $0.00

2N420411                                             10/01/2022        PSR         Active               $1.00          $0.00          100%                            $0.02                  $0.01                     $0.01

2N420424                                             09/01/2022        PSR         Transferred    $58,742.00      $21,911.64          15%                       $203.99                    $203.99                     $0.00

2N420428                                             09/01/2022        PSR         Transferred     $7,299.00           $0.00          100%                       $18.85                     $23.75                    $-4.90
2N420429                                             10/01/2022        PSR         Active              $1.00           $0.00           16%                        $0.00                      $0.00                     $0.00
2N420431                                             10/01/2022        PSR         Transferred    $36,053.00      $16,007.19            8%                      $110.60                     $88.62                    $21.98

2N420439                                             10/01/2022        PSR         Active        $218,882.00      $84,847.31          90%                      $7,142.39                 $5,806.04                 $1,336.35

2N420440                                             10/01/2022        PSR         Active         $96,385.00      $32,150.43           10%                       $204.12                   $147.86                    $56.26
3EA80092                                             07/01/2023        Prime       Active         $21,345.00      $15,992.96           50%                       $780.43                   $402.60                   $377.83
3EA80093                                             06/01/2023        Prime       Active         $22,478.00      $10,547.17           50%                       $609.39                   $360.21                   $249.18
3N420009                                             11/01/2022        PSC         Transferred    $84,650.00      $24,805.04          100%                     $2,668.70                 $2,234.61                   $434.09
3N420016                                             02/01/2023        PSR         Transferred    $14,634.00       $5,318.87          100%                       $346.43                   $346.43                     $0.00

3N420017                                             11/01/2022        PSR         Transferred    $28,703.00       $7,293.95          100%                      $493.86                    $366.21                   $127.65

3N420024                                             10/01/2022        PSR         Active        $284,611.00      $63,621.62          100%                     $4,461.83                 $2,235.07                 $2,226.76

3N420069                                             12/01/2022        PSR         Transferred    $16,675.00       $6,676.92          100%                      $408.89                    $408.89                     $0.00



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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                             Job Code                   : J07683

Employee ID                   : 1696790                                                                                        Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                     Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                              Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMA

Contract Number                                      First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

3N420086                                             12/01/2022        PSC         Active        $160,559.00      $69,570.80          100%                     $6,187.99               $4,970.50                 $1,217.49

3N420093                                             02/01/2023        PSR         Active         $56,584.00      $23,427.41          15%                       $350.76                  $289.26                    $61.50

3N420101                                             02/01/2023        PSC         Active        $187,500.00      $73,455.92          10%                       $754.02                  $576.22                   $177.80

3N420103                                             02/01/2023        PSR         Active         $36,188.51      $14,525.40           5%                         $73.63                  $60.91                    $12.72
3N420104                                             02/01/2023        PSC         Active         $51,030.00      $20,236.05          13%                        $268.76                 $214.91                    $53.85
3N420123                                             01/01/2023        Prime       Active        $438,932.00     $105,684.56          95%                      $8,620.56               $4,939.63                 $3,680.93

3N420126                                             02/01/2023        PSC         Active        $309,109.00      $72,461.72          90%                      $4,790.87               $2,508.32                 $2,282.55

3N420127                                             02/01/2023        PSC         Active        $192,179.00      $59,129.87           9%                       $345.96                  $167.56                   $178.40

3N420135                                             02/01/2023        PSC         Transferred    $21,816.00       $4,410.88          90%                       $306.48                  $237.01                    $69.47

3N420145                                             02/01/2023        PSR         Active         $62,575.00      $18,370.16          15%                       $331.35                  $283.13                    $48.22

3N420146                                             02/01/2023        Prime       Active         $29,845.00       $8,112.90          100%                     $1,021.21                 $879.23                   $141.98

3N420152                                             03/01/2023        Prime       Transferred    $61,800.00      $12,352.06          100%                     $1,892.23               $1,892.23                     $0.00

3N420163                                             03/01/2023        PSC         Active         $24,067.00       $3,588.07          90%                       $280.59                  $167.57                   $113.02

3N420164                                             03/01/2023        PSC         Active         $18,450.00       $4,798.95          10%                        $34.14                   $17.35                    $16.79
3N420167                                             03/01/2023        Prime       Active        $360,360.00     $144,864.79          95%                    $16,132.87               $13,122.40                 $3,010.47

3N420183                                             03/01/2023        PSR         Active        $213,759.00      $90,566.85          95%                      $8,490.26               $6,984.59                 $1,505.67

3N420184                                             06/01/2023        PSC         Active         $46,472.00      $12,810.85          100%                     $1,599.04               $1,150.66                   $448.38
3N420186                                             03/01/2023        PSR         Active        $155,305.00      $64,657.60           95%                     $6,114.25               $5,039.31                 $1,074.94

3N420187                                             03/01/2023        PSR         Active        $110,186.00      $50,888.63          95%                      $4,576.16               $3,730.14                   $846.02

3N420188                                             03/01/2023        PSR         Active         $42,805.00      $17,223.19          95%                      $1,656.83               $1,370.50                   $286.33

3N420189                                             03/01/2023        PSR         Active         $29,840.00      $10,925.87          95%                      $1,103.64                 $922.00                   $181.64

3N420197                                             04/01/2023        PSC         Active         $85,650.00      $31,262.62          25%                       $832.42                  $695.65                   $136.77
3N420225                                             05/01/2023        Prime       Active        $977,125.00     $290,976.42          70%                    $17,432.63               $11,888.62                 $5,544.01



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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                      : Francis R Begnoche                                                                         Job Code                   : J07683

Employee ID                   : 1696790                                                                                    Plan                      : SC04 - SIP BSNA HVAC Account Sales Reps (SC04)

Branch/Dept                   : N42 - 0000                                                                                 Plan Effective Date       : 1/1/2013

Manager                       : Patrick T McGuire                                                                          Manager ID                : 1260393

Pay Suspend                   : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status              Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                 Incentive              Date                   Incentive

3N420226                                             05/01/2023        PSR         Active       $7,630.00      $2,540.67          40%                        $67.60                   $32.03                    $35.57

3N420230                                             05/01/2023        PSR         Active    $139,007.00      $53,859.73          60%                      $3,335.99               $2,770.46                   $565.53
3N420231                                             05/01/2023        PSR         Active     $65,524.00      $26,536.96           5%                        $133.92                 $100.19                    $33.73

3N420251                                             06/01/2023        PSC         Active    $182,485.00      $61,885.64          15%                      $1,028.70                 $703.80                   $324.90

3N420264                                             06/01/2023        PSR         Active     $18,081.00       $4,124.83          100%                      $305.69                  $161.32                   $144.37

3N420265                                             06/01/2023        PSR         Active     $20,547.00       $8,218.61          100%                      $834.72                  $547.07                   $287.65

3N420278                                             06/01/2023        Prime       Active     $36,286.00      $12,292.68          100%                      $814.20                  $599.08                   $215.12

3N420287                                             06/01/2023        Prime       Active    $187,813.91      $26,973.73          100%                    $2,381.67                $1,437.59                   $944.08
3N420288                                             06/01/2023        Prime       Active    $910,144.09     $263,941.79          100%                   $31,968.80               $22,730.84                 $9,237.96
3N420296                                             07/01/2023        PSR         Active    $281,730.00      $77,447.40           90%                    $4,879.69                $2,440.10                 $2,439.59

3N420307                                             07/01/2023        PSC         Active     $63,640.00      $12,999.36          100%                      $999.99                  $545.01                   $454.98

3N420331                                             09/30/2023        PSC         Active     $37,922.00      $10,239.00          100%                     $1,294.09                 $935.73                   $358.36

3N420339                                             08/01/2023        Prime       Active       $9,495.00      $3,062.86          100%                      $205.36                   $98.16                   $107.20

3N420345                                             08/01/2023        Prime       Active    $131,978.00      $48,334.48          95%                      $5,628.22               $3,828.82                 $1,799.40

3N420369                                             09/30/2023        PSC         Active    $433,054.00      $86,610.80          100%                     $6,712.34               $3,680.96                 $3,031.38
9N420505                                             09/01/2019        Prime       Closed    $512,996.01      $88,235.94           60%                     $7,325.61               $7,325.61                     $0.00


Total                                                                                                                                                    $307,429.21             $243,740.90                $63,688.32




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